






Opinion issued June 26, 2008













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00182-CR

____________


CLEVELAND VON DENNIS, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 10th District Court

Galveston County, Texas

Trial Court Cause No. 07CR2047






MEMORANDUM  OPINION

	On June 17, 2008, appellant filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

	We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed.  All pending motions are denied as moot.

	The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Nuchia, Alcala, and Hanks

Do not publish.  Tex. R. App. P. 47.2(b).


